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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

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7                                                 No. 2:14-cv-02086-GEB-DAD
     KINSALE INSURANCE COMPANY, an
8    Arkansas corporation,                        ORDER GRANTING PLAINTIFF’S
                                                  SUMMARY ADJUDICATION MOTION
9                  Plaintiff,

10        v.

11   SKY HIGH SPORTS LLC, a California
     and Nevada Limited Liability
12   Company, SKY HIGH SPORTS CONCORD
     LLC, a California and Nevada
13   Limited Liability Company, SKY
     HIGH SPORTS NASHVILLE LLC, a
14   Nevada and Tennessee Limited
     Liability Company, SKY HIGH
15   SPORTS ONTARIO LLC, a California
     and Nevada Limited Liability
16   Company, SKY HIGH SPORTS
     OPPORTUNITIES LLC, a California
17   and Nevada Limited Liability
     Company, SKY HIGH SPORTS ORANGE
18   COUNTY LLC, a California and
     Nevada Limited liability Company,
19   SKY HIGH SPORTS SACRAMENTO LLC, a
     California and Nevada Limited
20   Liability Company, SKY HIGH
     SPORTS SANTA CLARA LLC, a
21   California and Nevada Limited
     Liability Company, SKY HIGH
22   SPORTS SEATTLE LLC, a Nevada and
     Washington Limited Liability
23   Company, and DOES 1-20 inclusive,

24                 Defendants.

25

26              Plaintiff    moves   for       summary   judgment,   or   in   the

27   alternative, summary adjudication, under Federal Rule of Civil

28   Procedure (“Rule”) 56 on the liability issues in its Complaint.
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1    Plaintiff’s Complaint comprises declaratory relief and breach of

2    contract claims against each Defendant. Plaintiff argues in its

3    motion:

4               [Defendants] breached the audit provisions of
                the commercial general liability [insurance]
5               policies issued by [Plaintiff] . . . . [since
                Defendants]   ha[ve]    failed   to   provide
6               [Plaintiff’s] auditors the necessary access
                to original financial records needed to
7               calculate [the] final premium [owed to
                Plaintiff] as stipulated in each of the
8               policies issued to [Defendants].
9               By this motion, [Plaintiff] seeks . . .
                summary adjudication on its claims for
10              [d]eclaratory [r]elief [a]nd [b]reach of
                [c]ontract and for a judicial declaration
11              . . . that the defendants have breached the
                policies by failing to provide original books
12              and records for inspection pursuant to the
                premium audit provisions of the . . .
13              [p]olicies; and, that defendants comply with
                the . . . [p]olicies and provide original
14              books and records for inspection pursuant to
                premium audit provisions of said policies.
15

16   (Mem. P. & A. Supp. Mot. Summ. J. (“Mot.”) 2:7-19, ECF No. 11-1.)

17              Defendants oppose the motion with mere argument and

18   unsupported conclusory assertions.

19                                I. LEGAL STANDARD

20              A party is entitled to summary judgment if
                ‘the movant shows that there is no genuine
21              dispute as to any material fact and the
                movant is entitled to judgment as a matter of
22              law.’ . . . The moving party has the burden
                of establishing the absence of a genuine
23              dispute of material fact.
24   City of Pomona v. SQM North Am. Corp., 750 F.3d 1036, 1049 (9th

25   Cir. 2014) (quoting Fed. R. Civ. P. 56(a)) (citing Celotex Corp.

26   v. Catrett, 477 U.S. 317, 323 (1986)). “A fact is ‘material’ when
27   . . . it could affect the outcome of the case.” Thrifty Oil Co.

28   v. Bank of Am. Nat’l Trust & Sav. Ass’n, 322 F.3d 1039, 1046 (9th
                                         2
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1    Cir. 2003) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.

2    242, 248 (1986)). “A[] [dispute] of material fact is ‘genuine’

3    when ‘the evidence is such that a reasonable jury could return a

4    verdict for the nonmoving party.’” Anderson, 477 U.S. at 248.

5               A party asserting that a fact cannot be or is
                genuinely disputed must support the assertion
6               by . . . citing to particular parts of
                materials in the record . . . or . . .
7               showing that the materials cited do not
                establish the absence or presence of a
8               genuine dispute, or that an adverse party
                cannot produce admissible evidence to support
9               the fact.
10   Fed. R. Civ. P. 56(c)(1)(A)-(B).

11              Local Rule 260(b) prescribes:

12              Any party opposing a motion for summary
                judgment . . . [must] reproduce the itemized
13              facts in the [moving party’s] Statement of
                Undisputed Facts and admit those facts that
14              are undisputed and deny those that are
                disputed, including with each denial a
15              citation to the particular portions of any
                pleading,       affidavit,       deposition,
16              interrogatory answer, admission, or other
                document relied upon in support of that
17              denial.
18              If   the   nonmovant    does    not   “specifically     .   .   .

19   [controvert duly supported] facts identified in the [movant’s]

20   statement of undisputed facts,” the nonmovant “is deemed to have
21   admitted the validity of the facts contained in the [movant’s]

22   statement.” Beard v. Banks, 548 U.S. 521, 527 (2006).

23              Because a district court has no independent duty “to

24   scour the record in search of a genuine issue of triable fact,”

25   and may “rely on the nonmoving party to identify with reasonable

26   particularity   the   evidence    that    precludes   summary   judgment,”
27   . . . the district court . . . [is] under no obligation to

28   undertake a cumbersome review of the record on the [nonmoving
                                         3
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1    party’s] behalf. Simmons v. Navajo Cnty., Ariz., 609 F.3d 1011,

2    1017 (9th Cir. 2010) (quoting Keenan v. Allan, 91 F.3d 1275, 1279

3    (9th Cir. 1996)).

4                                      II. UNCONTROVERTED FACTS

5                The following uncontroverted facts concern the motion.

6    Plaintiff insured Defendants “through September 2013 pursuant to

7    five insurance policies.” (Defs.’ Response to Pl.’s Undisputed

8    Material Facts (“SUF”) No. 1, ECF No. 12-1.) “Under the terms of

9    each insurance policy, [Plaintiff is] contractually entitled to

10   perform    an    audit       of    [each    Defendant’s]          books   and    records   to

11   assess    the    correct          final    premium    for    the     insurance        coverage

12   provided.”       (Id.       No.   2.)     “[Plaintiff]      retained       a    professional

13   insurance audit firm[] . . . to perform the audits mandated by

14   the    [insurance]          policies.”       (Id.    No.     3.)     “[T]he      [insurance]

15   policies provide a right to ‘examine [each Defendant’s] books and

16   records.’” (Id. No. 4.) “Direct access to such original records

17   is essential under the premium calculation provisions of said

18   policies     .    .     .    .”    (Id.     No.     5.)    “The     ‘Basis      of    Premium’

19   Endorsement No. ADF4002 0110 (the ‘Basis of Premium Endorsement’)

20   provides a formula for calculating ‘Gross Sales’ as defined in
21   that     endorsement         and     specified       in     the    ‘Classification         and

22   Premium’ Section of the declaration pages of each policy.” (Id.

23   No. 6.) The “[f]inal premium due under each policy is derived by

24   multiplying a rate into said Gross Sales figure.” (Id. No. 7.)

25   Plaintiff’s       “auditor         requested       direct    access       to    the   general

26   ledgers and other source records of [each Defendant] for the
27   annual audit needed to calculate [the] final premium and also

28   verify that individual revenue entries were accurate.” (Id. No.
                                                    4
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1    10.) “The general financial statements provided by [Defendants]

2    were mere summaries with gross figures which did not delineate

3    the line-by-line entries from which said totals were derived.”

4    (Id. No. 11.) “As such, they were wholly inadequate to calculate

5    the ‘Gross Sales’ of the respective policies, and to verify the

6    accuracy of the amount and characterization of individual revenue

7    entries   of   general     ledgers    and    similar      source    accounting

8    records.” (Id. No. 12.)

9                                   III. DISCUSSION

10              Plaintiff argues Defendants “did not provide access to

11   ordinary general ledgers or source records . . . . Instead,

12   [Defendants]    repeatedly     provided      [Plaintiff     with]     secondary

13   records primarily consisting of Profit and Loss Statements, with

14   revenue summaries presumably based on general ledgers and other

15   source    records   that     were    never    provided     to      [Plaintiff’s

16   auditor].” (Mot. 4:18-22.) Plaintiff’s auditor avers:

17              [he requested] direct access to the general
                ledgers of [Defendants] for the annual audit
18              period as well as access to the source
                records needed to verify that individual
19              revenue entries were accurate . . . .
                However,     the     complete      documentation
20              requested, and necessary to complete the
                audits, were never provided. Instead . . . .
21              [Defendants] provided records with . . .
                secondary   summaries     of   revenues.    These
22              secondary records were not the genuine and
                complete internal day-to-day, weekly and
23              monthly accounting books and records of the
                [Defendants]     but    summaries    purportedly
24              derived   from     and    prepared    based    on
                [Defendants’] . . . internal records . . . .
25              These secondary records included profit and
                loss statements and tax returns. I was never
26              provided   general     ledgers   setting    forth
                complete revenue figures nor any other source
27              records on revenues.
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1    (Decl. Gaylord Wood Supp. Mot. Summ. J. ¶¶ 4, 6-7, ECF No. 11-4.)

2               Defendants rejoin: Plaintiff “seeks the original books

3    and   records    of    separate   and   independent    companies[]   that

4    [Plaintiff]     does   not   insure.”   (Opp’n    2:9-10.)    Defendants’

5    “Managing Member” avers in his declaration submitted in support

6    of Defendants’ position:

7               Defendants[]   are    owners    of    trampoline
                equipment,    trampoline     structures,     and
8               recreational devices . . . . In exchange for
                a fixed monthly fee, the [Defendants] provide
9               trampoline equipment[,] . . . structures
                . . . and recreational devices to separate
10              and   independent    companies     to    provide
                trampoline related, recreational services to
11              the public. These separate and independent
                companies[] are responsible for their own
12              operations[]   and   maintaining     their   own
                business and financial records for those
13              operations.
14   (Decl. of Rolland Weddell Supp. Opp’n to Mot. Summ. J. ¶¶ 4-7,

15   ECF No. 12.)

16              Plaintiff replies:

17              [Defendants’] . . . opposition tries to
                confuse the straightforward issue presented,
18              and rewrite the commercial general liability
                insurance   contracts    [Plaintiff]   provided
19              th[ese]          ‘trampoline          center[]’
                business[es].   Now,   for the first time,
20              [Defendants] contend[] that [they] merely
                leased trampolines . . . . [Defendants’]
21              contention   [that   they    lease   trampoline
                equipment] . . . is defied by . . .         the
22              extensive   underwriting    history  [for   the
                insurance policies] and common sense. [Each
23              Defendant] asked for and received commercial
                general liability coverage for its trampoline
24              business.
25              . . . .
26              [Defendants] cannot now attempt to recast
                [their] business as a mere leasing agent to
27              avoid providing the documents needed to
                complete the audit.
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1    (Pl.’s Reply Supp. Mot. Summ. J. (“Reply”) 2:2-6, 8:10-11 ECF No.

2    13) (emphasis in original).

3                Plaintiff’s      evidence           establishes         that    each    Defendant

4    operates    a    trampoline       center        or       centers,     and    this    evidence

5    includes averments from its Senior Vice President, who avers that

6    Defendants      described    themselves             in     applications      for    insurance

7    coverage as “trampoline centers,” “trampoline fitness centers,” a

8    “trampoline and fitness center,” and a “[t]rampoline [f]amily

9    entertainment center.” (Decl. of Stuart Samuel Supp. Mot. Summ.

10   J. ¶¶ 3-7 Exs. A-E, ECF No. 11-5.)

11               Plaintiff has established that each Defendant breached

12   the audit provision of the commercial general liability insurance

13   policy issued by Plaintiff by its failure to provide Plaintiff’s

14   auditors    the    necessary       access           to    original     financial      records

15   needed     to   calculate        the       final         premium    owed     to    Plaintiff.

16   However, Plaintiff has not shown it is entitled to declaratory

17   relief since Plaintiff prevails on its summary adjudication of

18   its breach of contract claim.

19               Declaratory relief is appropriate ‘(1) when
                 the judgment will serve a useful purpose in
20               clarifying and settling the legal relations
                 in issue, and (2) when it will terminate and
21               afford    relief   from    the   uncertainty,
                 insecurity, and controversy giving rise to
22               the proceeding.’ The circumstances of the
                 present case [have not been shown to satisfy]
23               these criteria.
24   Guerra v. Sutton, 783 F.2d 1371, 1376 (9th Cir. 1984) (citing

25   Bilbrey    by   Bilbrey     v.    Brown,        738       F.2d     1462,    1470    (9th   Cir.

26   1984)). “Adjudication of [Plaintiff’s] breach of contract claim
27   [in   Plaintiff’s     favor]           .    .       .    render[s]     the     request      for

28   declaratory judgment moot or redundant . . . .” Amerisure Mut.
                                                     7
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1    Ins. Co. v. Maschmeyer Landscapers, Inc., No. 4:06-cv-1308, 2007

2    WL 2811080 at *2 (E.D. Mo. Sept. 24, 2007).

3               For   the   stated   reasons,   Plaintiff   prevails    on   the

4    liability portion of its breach of contract claim.

5    Dated:   August 25, 2015

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